                Case 22-50073                    Doc 4         Filed 02/15/22                Entered 02/15/22 20:41:33                   Page 1 of 5


 Fill in this information to identify your case:

 Debtor 1           Ho Wan                                       Kwok
                   __________________________________________________________________
                        First Name               Middle Name                Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                Last Name


 United States Bankruptcy Court for the: __________    District of __________
                                         District of Connecticut

 Case number            ___________________________________________
  (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing


2IILFLDO)RUP104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.



                                                                                                                                          Unsecured claim

 1                                                                                               Litigation
                                                                What is the nature of the claim? ____________________________                 (approx) 254,000,000.00
                                                                                                                                         $____________________________
       Pacific Alliance Asia Opportunity
      __________________________________________
      Creditor’s Name                                           As of the date you file, the claim is: Check all that apply.
       C/O O’Melveney & Myers, LLP
      __________________________________________
                                                  Contingent
      Number     Street                           Unliquidated
                                                 
      __________________________________________  Disputed
       7 Times  Square
                                                  None of the above apply
       New York                 NY 10065
      __________________________________________
      City                               State     ZIP Code
                                                                Does the creditor have a lien on your property?
       Stuart Sarnoff, Esq                        No
                                                 
      __________________________________________
      Contact                                     Yes. Total claim (secured and unsecured):                    $_____________________

      ____________________________________
                                                                        Value of security:                  -   $_____________________
      Contact phone
                                                                        Unsecured claim                         $_____________________



 2                                                                                               Litigation Funding
                                                                What is the nature of the claim? ____________________________              (approx) 21,000,000.00
                                                                                                                                         $____________________________
       Golden Spring New York
      __________________________________________
      Creditor’s Name                                           As of the date you file, the claim is: Check all that apply.
       162 E. 64th Street                                        Contingent
                                                                
      __________________________________________
      Number               Street                                Unliquidated
      __________________________________________                 Disputed
                                                                 None of the above apply
                                                                
       New York                 NY 10605
      __________________________________________
      City                               State     ZIP Code
                                                                Does the creditor have a lien on your property?
       Max Krasner                                                No
      __________________________________________
      Contact                                                     Yes. Total claim (secured and unsecured):    $_____________________

      ____________________________________
                                                                        Value of security:                  -   $_____________________
      Contact phone
                                                                        Unsecured claim                         $_____________________




Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
               Case 22-50073                    Doc 4        Filed 02/15/22                    Entered 02/15/22 20:41:33                   Page 2 of 5

Debtor 1        Ho  Wan                                      Kwok
                _______________________________________________________                                      Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                               Unsecured claim

 3 __________________________________________
   Rui Ma                                                                                          Litigation
                                                                  What is the nature of the claim? ____________________________                            20,000,000
                                                                                                                                           $____________________________
     Creditor’s Name
      750 Lexington Avenue - 25th Floor
     __________________________________________                   As of the date you file, the claim is: Check all that apply.
     Number            Street                                      Contingent
     C/O Arkin Solbakken, LLP
     __________________________________________                    Unliquidated
                                                                  
                                                                   Disputed
     New York                  NY     10022
     __________________________________________                    None of the above apply
     City                               State    ZIP Code
                                                                  Does the creditor have a lien on your property?
      Robert C. Angelillo
     __________________________________________
                                                                     No
     Contact                                                         Yes. Total claim (secured and unsecured):   $_____________________

     ____________________________________
                                                                          Value of security:                  -   $_____________________
     Contact phone                                                        Unsecured claim                         $_____________________

 4 __________________________________________
   Cheng Jian Wu Jian She                                                                          Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                        14,898483.90
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________                    Contingent
     Number            Street

     C/O Law Office of Ning Ye, Esq.                               Unliquidated
     __________________________________________                    Disputed
                                                                  
     Flushing                  NY     11354                        None of the above apply
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Ning Ye, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                  -   $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


 5 __________________________________________
   Ning Ye                                                                                         Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                           12,000,000
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     135-11 38th Avenue
     __________________________________________
     Number            Street
                                                 Contingent
     C/O   Arkin Solbakken,    LLP               Unliquidated
     __________________________________________  Disputed
                                                
     New   York                NY     10022
     __________________________________________
                                                 None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Robert C. Angelillo
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                              -
     Contact
                                                                          Value of security:                      $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 6 __________________________________________
   Guo Baosheng                                                                                    Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                           12,000,000
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     135-11 38th Avenue
     __________________________________________
     Number            Street                                      Contingent
     C/O Law Office of Ning Ye, Esq.                               Unliquidated
     __________________________________________                    Disputed
                                                                  
     Flushing                  NY     11354
     __________________________________________
                                                                   None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Ning Ye, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                              -
     Contact
                                                                          Value of security:                      $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 7 Yang Lan and Wu Zheng                                                                           Litigation                                               10,000,000
                                                                                                                                           $____________________________
                                                                  What is the nature of the claim? ____________________________
   __________________________________________
     Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
      750 Lexington Avenue - 25th Floor
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     C/O Arkin Solbakken, LLP
     __________________________________________                    Disputed
                                                                  
                                                                   None of the above apply
     New York                  NY     10022
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Robert C. Angelillo
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                  -   $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________


  Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
               Case 22-50073                    Doc 4        Filed 02/15/22                    Entered 02/15/22 20:41:33                   Page 3 of 5

Debtor 1         Ho  Wan                                      Kwok
                 _______________________________________________________                                     Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                              Unsecured claim

 8 __________________________________________
   Hong Qi Qu                                                                                      Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                        9,809,422.71
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
     Number            Street                    Contingent
     C/O   Kevin  Tung,  Esq.                    Unliquidated
     __________________________________________ 
                                                 Disputed
     Flushing                  NY    11354
     __________________________________________
                                                 None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                              -
     Contact
                                                                          Value of security:                      $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 9 __________________________________________
   Nan Tong Si Jian                                                                                Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                        5,568,522.66
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
     Number            Street                                      Contingent
     C/O Kevin Tung, Esq.                                          Unliquidated
     __________________________________________                    Disputed
                                                                  
     Flushing                  NY 11354
     __________________________________________
                                                                   None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                              -
     Contact
                                                                          Value of security:                      $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

10 __________________________________________
   Jian Gong                                                                                       Litigation
                                                                  What is the nature of the claim? ____________________________
                                                                                                                                                        5,380,262.32
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________                    Contingent
     Number            Street

     C/O Kevin Tung, Esq.                                          Unliquidated
     __________________________________________                    Disputed
                                                                  
     Flushing                  NY 11354                            None of the above apply
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                  -   $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


11 __________________________________________
   Yan Zhao                                                                                        Litigation
                                                                  What is the nature of the claim? ____________________________                             3,000,000
                                                                                                                                           $____________________________
     Creditor’s Name

     135-11 8th Ave                                               As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                      Contingent
     C/O Law Office of Ning Ye, Esq.
     __________________________________________
                                                                   Unliquidated
                                                                   Disputed
                                                                  
     Flushing                  NY 11354
     __________________________________________
                                                                   None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?

     Ning Ye, Esq.                                                   No
     __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
     Contact

     ____________________________________
                                                                          Value of security:                  -   $_____________________
     Contact phone                                                        Unsecured claim                         $_____________________

12                                                                                                 Litigation
                                                                  What is the nature of the claim? ____________________________                         1,571,530.36
                                                                                                                                           $____________________________
     Yua Hua Zhuang Shi
     __________________________________________
     Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
                                                                   Contingent
     Number            Street                                      Unliquidated
     C/O Kevin Tung, Esq.
     __________________________________________
                                                                   Disputed
                                                                  
                                                                   None of the above apply
     Flushing                  NY 11354
     __________________________________________                   Does the creditor have a lien on your property?
     City                               State
                                                ZIP Code
                                                                      No
     Kevin   Tung,  Esq.                                             Yes. Total claim (secured and unsecured):   $_____________________
     __________________________________________
     Contact
                                                                           Value of security:                 -   $_____________________
                                                                           Unsecured claim                        $_____________________
     ____________________________________
     Contact phone




     Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 3
                Case 22-50073                    Doc 4        Filed 02/15/22                    Entered 02/15/22 20:41:33                   Page 4 of 5

Debtor 1          Ho Wan                                        Kwok
                  _______________________________________________________                                     Case number (if known)_____________________________________
                  First Name       Middle Name         Last Name


                                                                                                                                              Unsecured claim

13 __________________________________________
   Liehong Zhuang/Xiao Yan Zhu                                                                      Litigation
                                                                   What is the nature of the claim? ____________________________
                                                                                                                                                             1,005,000
                                                                                                                                            $____________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      224 West 35th Street, 11th Floor
      __________________________________________
      Number            Street                    Contingent
      C/O   Trexler &  Zhang,  LLP                Unliquidated
      __________________________________________
                                                  Disputed
                                                 
      New   York                NY    10001
      __________________________________________
                                                  None of the above apply
      City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Jonathan T. Trexler, Esq.
      __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                               -
      Contact
                                                                           Value of security:                      $_____________________
      ____________________________________
      Contact phone                                                        Unsecured claim                         $_____________________

14 __________________________________________
   Weican Meng/Boxun, Inc.                                                                          Litigation
                                                                   What is the nature of the claim? ____________________________
                                                                                                                                                             1,000,000
                                                                                                                                            $____________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      750 Lexington Avenue, 25th Floor
      __________________________________________
      Number     Street                           Contingent
      C/O   Arkin Solbakken,    LLP               Unliquidated
      __________________________________________
                                                  Disputed
                                                 
      New   York                NY    10022
      __________________________________________
                                                  None of the above apply
      City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Robert C. Angelillo
      __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                               -
      Contact
                                                                           Value of security:                      $_____________________
      ____________________________________
      Contact phone                                                        Unsecured claim                         $_____________________

15 __________________________________________
   Samuel Nunberg                                                                                   Litigation
                                                                   What is the nature of the claim? ____________________________
                                                                                                                                                             1,000,000
                                                                                                                                            $____________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      363 Seventh Ave, 5th Floor
      __________________________________________                    Contingent
      Number            Street

      C/O Nesenoff & Miltenberg, LLP                                Unliquidated
      __________________________________________                    Disputed
                                                                   
      New York                  NY 10001                            None of the above apply
      __________________________________________
      City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Andrew T. Miltenberg, Esq.
      __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
      Contact
                                                                           Value of security:                  -   $_____________________
      ____________________________________                                 Unsecured claim                         $_____________________
      Contact phone


16 __________________________________________
   Lamp Capital, LLC                                                                                Litigation Loan
                                                                   What is the nature of the claim? ____________________________
                                                                                                                                                                1,000,000
                                                                                                                                            $____________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      One Commerce Plaza
      __________________________________________
      Number            Street                                      Contingent
      99 Washington Avenue                                          Unliquidated
      __________________________________________
                                                                    Disputed
      Albany                    NY 12231                            None of the above apply
                                                                   
      __________________________________________
      City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      C/O NYS, Secretary of State
      __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                               -
      Contact
                                                                           Value of security:                      $_____________________
      ____________________________________
      Contact phone                                                        Unsecured claim                         $_____________________

17 Jun Chen aka Jonathan Ho                                                                         Litigation
                                                                   What is the nature of the claim? ____________________________                             1,000,000
                                                                                                                                            $____________________________
   __________________________________________
      Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
      41-25 Kissena Blvd, Suite 112
      __________________________________________                      Contingent
      Number            Street
                                                                      Unliquidated
      C/O Wayne Wei Zhu, Esq
      __________________________________________                   
                                                                   [   Disputed
                                                                      None of the above apply
      Flushing                  NY 11355
      __________________________________________                   Does the creditor have a lien on your property?
      City                               State    ZIP Code
                                                                      No
      Wayne Wei Zhu
      __________________________________________                      Yes. Total claim (secured and unsecured):   $_____________________
      Contact
                                                                           Value of security:                  -   $_____________________
      ____________________________________
      Contact phone
                                                                           Unsecured claim                         $_____________________


Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 4
                Case 22-50073                           Doc 4          Filed 02/15/22                    Entered 02/15/22 20:41:33                   Page 5 of 5

Debtor 1          Ho  Wan                                      Kwok
                  _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name           Middle Name            Last Name


                                                                                                                                                     Unsecured claim

18 Yue Hua Zhu Shi                                                                                           Litigation
                                                                            What is the nature of the claim? ____________________________                            981,501.72
                                                                                                                                                     $____________________________
   __________________________________________
      Creditor’s Name
                                                                            As of the date you file, the claim is: Check all that apply.
      136-20 38th Avenue, Suite 3D
      __________________________________________                             Contingent
      Number             Street
                                                                             Unliquidated
      C/O Kevin Tung, Esq.
      __________________________________________                            
                                                                             Disputed
      Flushing                  NY 11354                                     None of the above apply
      __________________________________________
      City                                     State       ZIP Code         Does the creditor have a lien on your property?
                                                                               No
      Kevin Tung, Esq.
      __________________________________________                               Yes. Total claim (secured and unsecured):   $_____________________
      Contact
                                                                                    Value of security:                  -   $_____________________
      ____________________________________
      Contact phone
                                                                                    Unsecured claim                         $_____________________



                                                                                                             Litigation
                                                                            What is the nature of the claim? ____________________________
19                                                                                                                                                                      430,000
      Jia Li Wang
      __________________________________________                                                                                                     $____________________________
      Creditor’s Name
                                                                            As of the date you file, the claim is: Check all that apply.
      335 Madison Avenue, 12th Floor
      __________________________________________
      Number             Street                   Contingent
      C/O   Thompson     Hine                     Unliquidated
      __________________________________________
                                                 
                                                  Disputed
      New   York                NY     10017
      __________________________________________
                                                  None of the above apply
      City                                     State       ZIP Code
                                                                            Does the creditor have a lien on your property?
       Brian P. Lanciault, Esq
      __________________________________________
                                                                               No
      Contact                                                                  Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                                    Value of security:                  -   $_____________________
      Contact phone                                                                 Unsecured claim                         $_____________________


                                                                                                             Litgiation
                                                                            What is the nature of the claim? ____________________________
20                                                                                                                                                                      319,130
                                                                                                                                                     $____________________________

                                                                            As of the date you file, the claim is: Check all that apply.
       WA&HF, LLC/Ruizeng An
      __________________________________________
                                                  Contingent
      Creditor’s Name                             Unliquidated
       41    Madison       Avenue, 31st Floor
      __________________________________________
                                                 
                                                  Disputed
      Number          Street                      None of the above apply
       C/O AFN Law
      __________________________________________
                                                                            Does the creditor have a lien on your property?
      New York                  NY 10010
      __________________________________________                               No
      City                                     State       ZIP Code
                                                                               Yes. Total claim (secured and unsecured):   $_____________________
      Angus Ni, Esq.
      __________________________________________
                                                                                    Value of security:                  -   $_____________________
      Contact                                                                       Unsecured claim                         $_____________________

      ____________________________________
      Contact phone




 Part 2:        Sign Below




     Under penalty of perjury, I declare that the information provided in this form is true and correct.



 8 V+R:DQ.ZRN
      ______________________________________________                              8   ______________________________________________
      Signature of Debtor 1                                                           Signature of Debtor 2

                
      Date _________________                                                           Date _________________
             MM /       DD   /    YYYY                                                       MM /   DD /   YYYY



Official Form 104             For Individual ChaptHr 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                       page 5
             Print                                     Save As...                                                                                                Reset
